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    EXHIBIT 4
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From:             Maniscalco, Michael (NY) (FBI)
Sent:             Friday, June 24, 2022 2:17 PM
To:               Scotten, Hagan (USANYS); Dell, Rebecca (USANYS)
Subject:          Fwd: Tagmatarchi & Lazarou
Attachments:      killmary investments.PNG; Contact Us -.pdf; enplus 2019 disclosure 1.PNG; enplus 2019 disclosure
                  2.PNG; enplus 2019 disclosure 3.PNG; enplus 2019 disclosure 4.PNG; enplus 2019 disclosure 5.PNG;
                  enplus 2019 disclosure 6.PNG; enplus 2019 disclosure 7.PNG; enplus 2019 disclosure 8.PNG; enplus
                  2021 disclosure 1.PNG; enplus 2021 disclosure 2.PNG; enplus 2021 disclosure 3.PNG; enplus 2021
                  disclosure 4.PNG; enplus 2021 disclosure 5.PNG; enplusgroup disclosure.PNG; killmary
                  investments.PNG; ONRAMAHAN LTD - Companies House Cyprus - About.pdf; ONRAMAHAN LTD -
                  Companies House Cyprus - Directors.pdf; rusal 2020 disclosure 1.PNG; rusal 2020 disclosure 2.PNG;
                  rusal 2020 disclosure 3.PNG; rusal 2020 disclosure 4.PNG; rusal 2020 disclosure 5.PNG; rusal 2020
                  disclosure 6.PNG; rusal investor page 2.PNG; rusal investor page.PNG; rusal late 2020 disclosure
                  1.PNG; rusal late 2020 disclosure 2.PNG; rusal late 2020 disclosure 3.PNG; rusal late 2020 disclosure
                  4.PNG; rusal late 2020 disclosure 5.PNG; rusal late 2020 disclosure 6.PNG; rusal late 2020 disclosure
                  7.PNG; Arina Lazarou - OCCRP Aleph.pdf; Société UNITED COMPANY RUSAL LIMITED à JERSEY
                  (Chiffre d'affaires, bilans, résultat) avec Verif.com - Siren 513391599 - Entreprise radiée.pdf; UNITED
                  COMPANY RUSAL LIMITED (JERSEY) Chiffre d'affaires, résultat, bilans sur SOCIETE.COM -
                  513391599.pdf; Lazarou CEO.PNG; JDS MEDIA LTD __ Cyprus __ OpenCorporates.pdf; Casino -.pdf;
                  LLC _STROY INVEST PROEKT_, Krasnoyarsk, TIN 2465209263, OGRN 1082468025870. Reviews and full
                  information from the Unified State Register of Legal Entities, Pension Fund of the Russian Federation,
                  Rosstat, accounting.pdf; ǱǵǳǶǧǴǯȆ _ǱǷǯǶǶǲ ǱǷǯǱ ǲǯǳǯǹǬǫ_, ǱǯǶǷ (ǷȌȊȏȘșȗȇȝȏȕȔȔȢȐ ȔȕȓȌȗ
                  HE 156244) - ȚȞȗȌȍȋȌȔȔȢȌ ȏ ȚȖȗȇȉȒȦȌȓȢȌ ȕȗȊȇȔȏȎȇȝȏȏ ȉ Ƿǻ.pdf; COMPANY _BASKERTON
                  LIMITED_ (Reg. number HE 180523) details and established companies.pdf; FEIDELM LIMITED -
                  Papeles de Panamá.pdf; PANDEAN LTD Cyprus OpenCorporates.pdf; SAL_EN_GROUP_IPJSC_na_
                  31032021.pdf; ƩƶƮƲƩ ưƩƬƩƶƴƹ (director) OpenCorporates.pdf; ǱǵǳǶǧǴǯȆ _ǱǷǯǶǶǲ ǱǷǯǱ
                  ǲǯǳǯǹǬǫ_.pdf; LGA & F Legal and Financial Consultans Inc - Contact us.pdf; ǱǵǳǶǧǴǯȆ
                  _ǹǯǧǳǬǷǯǧǴ ǼǵǲǫǯǴǪǸ ǲǹǫ_ (ǷȌȊ. ȔȕȓȌȗ ǴǬ 215393) ȗȌȑȉȏȎȏșȢ ȏ ȚȞȗȌȍȋȌȔȔȢȌ
                  ȑȕȓȖȇȔȏȏ.pdf; ǪǲǧǩǴǧȆ ǸǹǷǧǴǯǽǧ.pdf; ǵǵǵ _ǷǺǸǧǲ ǻǵǲȃǪǧ_, ǵǱǶǵ 97214038.pdf; About -
                  LGA&F.pdf; ǵǵǵ _ǸǹǷǵǰ ǯǴǩǬǸǹ ǶǷǵǬǱǹ_ , ǱȗȇȘȔȕȦȗȘȑ, ǯǴǴ 2465209263, ǵǪǷǴ
                  1082468025870. ǵșȎȢȉȢ ȏ ȖȕȒȔȢȌ ȘȉȌȋȌȔȏȦ ȏȎ ǬǪǷȅǲ, ǶǻǷ, ǷȕȘȘșȇș, ȈȚȜȊȇȒșȌȗȏȦ.pdf; COMPANY
                  _CRIPLLE CREEK LIMITED_, CYPRUS (Registration number HE 156244) - companies incorporated and
                  managed in the Russian Federation.pdf; LGA & F Legal and Financial Consultans Inc - About us.pdf;
                  ǸȖȏȘȕȑ ȇțțȏȒȏȗȕȉȇȔȔȢȜ Ȓȏȝ Ȕȇ 30.09.2020.pdf; COMPANY _CRIPPL CREAK LIMITED_.pdf; LLC
                  _RUSAL FOIL_, OKPO 97214038.pdf; ǸȖȏȘȕȑ ȇțțȏȒȏȗȕȉȇȔȔȢȜ Ȓȏȝ Ȕȇ 31.12.2020.pdf; ǱǵǳǶǧǴǯȆ
                  _ǨǧǸǱǬǷǹǵǴ ǲǯǳǯǹǬǫ_ (ǷȌȊ. ȔȕȓȌȗ ǴǬ 180523) ȗȌȑȉȏȎȏșȢ ȏ ȚȞȗȌȍȋȌȔȔȢȌ ȑȕȓȖȇȔȏȏ.pdf;
                  COMPANY _TIAMERIAN HOLDINGS LTD_ (Reg. number HE 215393) details and established
                  companies.pdf; KILLMARY INVESTMENTS LTD - offshore entity of Cyprus.pdf; LGA&F.pdf;
                  SAL_EN+_GROUP_IPJSC_na_300919.pdf; Arina Lazarou - Managing Director - LGA&F Legal And
                  Financial consultants _ LinkedIn.pdf; Arina Lazarou (@ArinaLazarou) _ Twitter.pdf

Follow Up Flag:   Follow up
Flag Status:      Completed



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              Case 1:23-cr-00016-JHR            Document 177-4           Filed 11/12/24       Page 3 of 4

)URP'R\OH&KULVWRSKHU5RELQ 1<  )%,                                
6HQW)ULGD\-XQH30
7R0DQLVFDOFR0LFKDHO 1<  )%,                                   1HYLQV+DOH\.DWKU\Q 1<  )%, 
                  )R[&KULVWLQD/ 1<  )%,                             3UHLV0LFKDHO 1<  )%, 
                
6XEMHFW7DJPDWDUFKL /D]DURX

AdditionalentitieslinkedtoArinaLazarou(ȰɆȻɁȰȿȰȷȰɆɃɉ)and/orthefollowingaddress:TagmatarchouPouliou23,
Flat/Office4Ͳ5,1011,Nicosia,Cyprus
LGAF–LGA&Fhasa.org,.info,and.prowebsite–eachwebsitelooksdrasticallydifferentbuttheyalllinktoone
anotherandusethesamecontactemail.Basedonthesamephysicaladdressandsameemail,thevariousLGA&F
companiesarelikelyallrelated.
     x Thelgaf.prowebsitelistedȰɆȻɁȰȿȰȷȰɆɃɉ/ArinaLazarouasitsCEO
AccordingtoFrenchcorporateregistrationwebsites,ȰɆȻɁȰȿȰȷȰɆɃɉ/ArinaLazarouhasbeenaffiliatedwithUnited
CompanyRusal
ArinaLazaroualsoaffiliatedwith
     x DentorManagementLtd
     x RusalRogunLtd
     x RualFoilLtd
     x HaytexIndustriesCorp
     x NarinaTradeLtd
     x GiddensHoldingsLtd
     x GreenhelmLimited
     x L.A.Lazarou&CoLtd
     x MersalCoalHoldingsLimited
     x WexlerLtd
     x MetabateHoldingsLtd
     x MercaloTransportationHoldingsLimited
ONRAMAHANLTD(RegistrationNumber:C264496)
     x DirectorͲSOUZIIRODOTOU
     x SecretaryͲLGA&FNOMINEESERVICESLIMITED
     x Flat/Office4Ͳ5,TagmatarchouPouliou23,1101Nicosia,Cyprus
KillmaryInvestmentsͲsameTagmatarchouPouliou23,Flat/Office4Ͳ5,1011,Nicosia,Cyprusaddress
     x LGA&FLegalandFinancialConsultants
     x ȰɆȻɁȰȿȰȷȰɆɃɉ/ArinaLazarou
     x MossackFonseca
BarneysCasino.comheadquarteredatthesameTagmatarchouPouliou23,Flat/Office4Ͳ5,1011,Nicosia,Cyprusaddress
     x DoesnotappeartohaveaphysicalpresenceintheUS
     x “brandandwebsiteownedandoperatedbyJDSMediaLtd”
             o JDSMediaLtdisaffiliatedwithLGA&FNomineeServicesLimitedandwiththesameTagmatarchou
                  Pouliou23,Flat/Office4Ͳ5,1011,Nicosia,Cyprusaddress
FeidelmLimitedͲsameTagmatarchouPouliou23,Flat/Office4Ͳ5,1011,Nicosia,Cyprusaddress
BASKERTONLIMITEDͲsameTagmatarchouPouliou23,Flat/Office4Ͳ5,1011,Nicosia,Cyprusaddress
     x AffiliatedwithLLCRusalFoil
CRIPLLECREAKLIMITEDͲsameTagmatarchouPouliou23,Flat/Office4Ͳ5,1011,Nicosia,Cyprusaddress
     x AffiliatedwithLLCRusalFoil
TIAMERIANHOLDINGSLTDͲsameTagmatarchouPouliou23,Flat/Office4Ͳ5,1011,Nicosia,Cyprusaddress
     x AffiliatedwithLLCStoryInvestProject
PublicfinancialdisclosuresfromEN+andRusalbothshowmultipleentitiestiedtotheirrespectivecorporatestructures
asbeingaffiliatedwiththesameTagmatarchouPouliou23,Flat/Office4Ͳ5,1011,Nicosia,Cyprusaddress:
     x LGA&FNomineeServicesLimited
     x RUSALFinanceLimited
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               x    UnitedcompanyRUSALIPLimited
               x    W.W.AluminaTradeCoLtd
               x    AlumtradeLtd
               x    MIRADOREENTERPRISESLIMITED
               x    FairfexTransportationHoldingsLtd
               x    TIAMERIANHOLDINGSLTD
           BestRegards,
           ChrisDoyle
           IntelligenceAnalyst
           FBINewYork
           Desk#                
           Cell#              
           




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